            Case: 3:21-cv-00096-wmc Document #: 186 Filed: 01/31/22 Page 1 of 3



                       UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF WISCONSIN

 NATIONAL WILDLIFE REFUGE ASSOCIATION, et al.,
                        Plaintiffs,
        v.                                                           No. 3:21-cv-00096-wmc
 RURAL UTILITIES SERVICE, et al.,                                    Consolidated with No. 3:21-cv-
                        Federal Defendants,                          000306-wmc

 AMERICAN TRANSMISSION COMPANY, LLC, et al.,
                        Intervenor-Defendants.
___________________________________
 NATIONAL WILDLIFE REFUGE ASSOCIATION, et al.,
                        Plaintiffs,
        v.
 UNITED STATES ARMY CORPS OF ENGINEERS, et al.,
                        Federal Defendants,

 AMERICAN TRANSMISSION COMPANY, LLC, et al.,
                        Intervenor-Defendants.

   CO-OWNERS’ NOTICE OF MOTION AND MOTION TO STAY JUDGMENT PENDING
                                APPEAL


   Pursuant to Fed. R. Civ. P. 7(b) and 62, American Transmission Company LLC by its corporate

manager ATC Management Inc., ITC Midwest LLC, and Dairyland Power Cooperative (collectively,

the “Co-owners”) move this Court to stay pending appeal the final judgment it enters in the above-

captioned proceeding following its Opinion and Order (see ECF No. 175) on the parties’ cross motions

for summary judgment. The grounds for this motion are set forth more fully in the Co-owners’ Brief

on Remedy and Brief in Support of Motion for Stay Pending Appeal, which is being filed concurrently

herewith.
       Case: 3:21-cv-00096-wmc Document #: 186 Filed: 01/31/22 Page 2 of 3




DATED: January 31, 2022                  Respectfully submitted,

                                         s/ Thomas C. Jensen
                                         Thomas C. Jensen
                                         Edward A. Boling
                                         Stacey Bosshardt
                                         PERKINS COIE LLP
                                         700 Thirteenth St. NW Suite 800
                                         Washington, D.C. 20005-3960
                                         Tel: (202) 654-6200
                                         Fax: (202) 654-6210
                                         TJensen@perkinscoie.com
                                         TedBoling@perkinscoie.com
                                         SBosshardt@perkinscoie.com

                                         David Zoppo
                                         PERKINS COIE LLP
                                         33 E. Main Street, Suite 201
                                         Madisom, WI 53703
                                         Tel: (608) 663-7460
                                         Fax: (608) 663-7499
                                         DZoppo@perkinscoie.com

                                         Attorneys for Intervenor-Defendants
                                         American Transmission Company LLC by its
                                         corporate manager, ATC Management Inc.,
                                         ITC Midwest LLC and Dairyland Power
                                         Cooperative.
         Case: 3:21-cv-00096-wmc Document #: 186 Filed: 01/31/22 Page 3 of 3



                                   CERTIFICATE OF SERVICE

       I hereby certify that on January 31, 2022, I electronically filed the forgoing document with

the Clerk of Court using the Court’s ECF system, which will serve the document on all counsel of

record registered for electronic filing in the above-captioned proceeding.



Dated: January 31, 2022
                                                        /s/ Thomas C. Jensen
                                                        Thomas C. Jensen
